                   Case 8:11-cv-01779-JFM Document 1 Filed 06/29/11 Page 1 of 5



                                    IN THE UNITED STATES DISTRICT COURT
 1
                                           DISTRICT OF MARYLAND
 2
                                               Greenbelt Division

 3            JAMES GAMBLE,                            *
                                                       *        COMPLAINT
 4                    Plaintiff,                       *
                                                       *
 5                             v.                      *
                                                       *        JURY TRIAL DEMANDED
 6
              FRADKIN & WEBER, P.A.                    *
                                                       *
 7
                      Defendant                        *
 8
         COMPLAINT FOR DAMAGES FOR VIOLATIONS OF THE FAIR DEBT COLLECTION
 9                               PRACTICES ACT
10
                                                  JURISDICTION
11            1.      Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15 U.S.C. §
12   1692k(d), and pursuant to 28 U.S.C. § 1367 for pendent state law claims.

13            2.      This action arises out of Defendant’s repeated violations of the Fair Debt Collection
     Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) and out of the invasions of Plaintiff’s personal and
14
     financial privacy by this Defendant and their agents in their illegal efforts to collect a consumer debt from
15
     Plaintiff.
16            3.      Venue is proper in this District because the acts and transactions occurred here, Plaintiff
17   resides here, and Defendant transacts business here

18
                                                      PARTIES
19
              4.      Plaintiff is a natural person who resides in Prince Georges County, Maryland, and is a
20
     “consumer” as that term is defined by 15 U.S.C. § 1692a(3) and a person with standing to bring a claim
21   under the FDCPA by virtue of being directly affected by a violation of the Act.
22            5.      Defendant Fradkin & Weber, P.A.is a law firm engaging in the business of debt

23   collection. Its principal place of business is located at 200 E Joppa Road, Towson, MD 21286. Defendant
     Fradkin & Weber, P.A. is a debt collector as that term is defined by 15 U.S.C. §1692a(6) in that it held
24
     itself out to be a company collecting a consumer debt allegedly owed by Plaintiff that Defendant
25
     purchased from another entity.
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27

28




                                                   Complaint - 1
                   Case 8:11-cv-01779-JFM Document 1 Filed 06/29/11 Page 2 of 5



                                            FACTUAL ALLEGATIONS
 1
                                                   Pre-Bankruptcy
 2
             6.       On or about June 13, 2008, Plaintiff incurred a financial obligation that were primarily
 3   for personal, family or household purposes and is therefore are “debts” as that term is defined by 15
 4   U.S.C. § 1692a(5); namely, a Continental Finance MasterCard issued by First Bank of Delaware

 5   (“FBD”).
             7.       On or about June 10, 2008, the Federal Deposit Insurance Corporation (“FDIC”) and the
 6
     Federal Trade Commission (“FTC”) began pursuing enforcement actions against FBD and Continental
 7
     Finance Company, LLC (“Continental”) for deceptive practices in soliciting consumers such as Plaintiff
 8   for the Continental Finance MasterCard.
 9           8.       On or about October 3, 2008, FBD and Continental settled with the FDIC and FTC and

10   agreed to pay restitution to those consumers who were affected by their practices.
             9.       FBD and Continental also agreed to governmental oversight in overhauling its National
11
     Consumer Products Division.
12
             10.      A copy of the FDIC Order is attached as Exhibit A.
13           11.      On or about February 20, 2009, Continental sold Plaintiff’s debt, in a portfolio with other
14   similar debts, to LP Investments, LTD (“LPI”).

15           12.      That same day LPI sold that portfolio to DelMarva Capital Group LLC (“DelMarva”).

16
                                                      Bankruptcy
17
             13.      On January 29, 2010, the Plaintiff sought protection from his creditors by filing a joint
18   voluntary Chapter 7 bankruptcy petition in the United States Bankruptcy Court for the District of
19   Maryland.

20           14.      In the schedules filed with the petition in this case and on the master mailing matrix filed
     with the Clerk of this Court, a debt was listed in favor of “Continental Finance MasterCard“ for a
21
     unsecured loan in the amount of $707.70. A copy of the filed Schedule F is attached as Exhibit B.
22
             15.      This information was drawn from Plaintiff’s credit report, and at the time Plaintiff was
23   given no notice that the debt had been sold to any other identity.
24           16.      There were no Objections to Discharge or Adversary Proceedings filed under 11 U.S.C. §

25   523 to determine the dischargeability of this debt.
             17.      On or about April 27, 2010, while Plaintiff was in bankruptcy, DelMarva sold that debt to
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     Defendant.
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                                                   Complaint - 2
                   Case 8:11-cv-01779-JFM Document 1 Filed 06/29/11 Page 3 of 5



             18.      On May 12, 2010, the Plaintiff was granted a discharge of all dischargeable debts
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     pursuant to 11 U.S.C. § 524. The Plaintiff alleges that this Discharge included the debt to Continental
 2
     which was eventually purchased by Defendant
 3
                                                Post-Bankruptcy
 4
             19.      On or about May 19, 2010, Defendant sent a letter to Plaintiff informing him that the debt
 5   had been sold to it by Continental Finance.
 6           20.      On or about June 28, 2010, Defendant filed a lawsuit in the District Court of Prince
     George’s County to collect on this debt. A copy of the Complaint is attached as Exhibit C.
 7
             21.      On this Complaint, Michael Fradkin, a principal of Defendant, certified under oath that:
 8
                      I am the President of [Defendant] herein and am competent to testify…that there is
 9
                      justly due and owing by the Defendant to the Plaintiff the sum set forth in the
10                    Complaint.
11                    I solemnly affirm under the penalties of perjury and upon personal knowledge that the

12
                      contents of the above Complaint are true and I am competent to testify to these
                      matters.
13
             22.      Plaintiff was served with the summons and Complaint by process server on or about
14
     April 14, 2011 with trial set for June 23, 2011. A copy of this summons is attached as Exhibit D.
15
             COUNT I. VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
16
                                    15 U.S.C. § 1692 et seq.
17           23.      Plaintiff incorporates by reference all of the above paragraphs of this Complaint as
18   though fully stated herein.
             24.      This Court in Awah v. Donaty, 2009 U.S. Dist. LEXIS 103077 (D. Md. Nov. 4, 2009)
19
     stated that in order for Plaintiff to make a successful claim under the FDCPA, he/she must show that
20
                      (1) The plaintiff has been the object of collection activity arising from consumer debt;
21
                      (2) The defendant is a debtor collector as defined by the FDCPA; and
22                    (3) The defendant has engaged in an act or omission prohibited by the FDCPA.
23           25.      Here, all elements are present, satisfied, and cannot be disputed.
             26.      Defendant’s aforementioned lawsuit to collect on a discharged debt was a false statement
24
     to the Plaintiff that he still owed the debt, in direct violation of 15 U.S.C. §§ 1692(e), e(2)(a), e(10).
25
             27.      Through Defendant’s actions the Plaintiff has been severely agitated, annoyed,
26
     traumatized, and emotionally damaged by the actions of the Defendant.
27           28.      Plaintiff had filed bankruptcy specifically to gain relief from his creditors and to stop
28   these kinds of collection efforts.



                                                    Complaint - 3
                   Case 8:11-cv-01779-JFM Document 1 Filed 06/29/11 Page 4 of 5



             29.       Plaintiff emotional damages were further exacerbated by his expectations that he was free
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     from his old debt by virtue of the bankruptcy discharge.
 2
             30.       As a result of Defendant’s violations of the FDCPA, Plaintiff is entitled to actual
 3   damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in an amount up to $1,000.00 pursuant
 4   to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable attorney’s fees and costs pursuant to 15 U.S.C. §

 5   1692k(a)(3), from each Defendant herein.
             WHEREFORE, Plaintiff prays that judgment be entered against each Defendant:
 6
                   a) For an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the
 7
                       Defendant and for Plaintiff;
 8                 b) For an award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)
 9                     against the Defendant and for Plaintiff;

10                 c) For an award of costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §
                       1692k(a)(3) against the Defendant and for Plaintiff; and
11
                   d) For such other and further relief as this Court deems just and proper.
12

13                    COUNT II. INVASION OF PRIVACY BY INTRUSION UPON SECLUSION
             31.       Plaintiff incorporates by reference all of the paragraphs of this Complaint as though fully
14
     stated herein.
15
             32.       Congress explicitly recognized a consumer’s inherent right to privacy in collection
16
     matters in passing the Fair Debt Collection Practices Act, when it stated as part of its findings:
17                     Abusive debt collection practices contribute to the number of personal bankruptcies, to
18                     marital instability, to the loss of jobs, and to invasions of individual privacy.
             15 U.S.C. § 1692(a) (emphasis added).
19
             33.       Congress further recognized a consumer’s right to privacy in financial data in passing the
20
     Gramm Leech Bliley Act, which regulates the privacy of consumer financial data for a broad range of
21
     “financial institutions” including debt collectors, albeit without a private right of action, when it stated as
22   part of its purposes:
23                     It is the policy of the Congress that each financial institution has an affirmative and
                       continuing obligation to respect the privacy of its customers and to protect the
24
                       security and confidentiality of those customers’ nonpublic personal information.
25
             15 U.S.C. § 6801(a) (emphasis added).
26
             34.       Defendant and its agents intentionally and/or negligently interfered, physically or
27   otherwise, with the solitude, seclusion and or private concerns or affairs of Plaintiff, namely, by
28




                                                      Complaint - 4
                   Case 8:11-cv-01779-JFM Document 1 Filed 06/29/11 Page 5 of 5



     repeatedly and unlawfully attempting to collect a debt that he apparently did not owe and thereby invaded
 1
     Plaintiff’s privacy.
 2
             35.       Defendant and its agents intentionally and/or negligently caused emotional harm to
 3   Plaintiff by engaging in highly offensive conduct in the course of collecting this debt, thereby invading
 4   and intruding upon Plaintiff’s rights to privacy.

 5           36.       Plaintiff had a reasonable expectation of privacy in his solitude, seclusion, private
     concerns or affairs, and private financial information.
 6
             37.       The conduct of this Defendant, in engaging in the above-described illegal collection
 7
     conduct against Plaintiff, resulted in multiple intrusions and invasions of privacy by this Defendant which
 8   occurred in a way that would be highly offensive to a reasonable person in that position.
 9           38.       As a result of such intrusions and invasions of privacy, Plaintiff is entitled to actual

10   damages in an amount to be determined at trial from this Defendant.
             WHEREFORE, Plaintiff prays that judgment be entered against the Defendant:
11
             a) For an award of actual damages from Defendant for the emotional distress suffered as a result
12
                   of the FDCPA violations and invasions of privacy in an amount to be determined at trial and
13                 for Plaintiff;
14           b) For an award of reasonable attorney’s fees and costs; and

15           c) For such other and further relief as this Court deems just and proper.

16
                                                   TRIAL BY JURY
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             39.       Plaintiff is entitled to and hereby respectfully demands a trial by jury on all issues so
18   triable. US Const. amend. 7. Fed.R.Civ.P. 38.
19

20
     Respectfully submitted this 29th day of June, 2011;
21
     JAMES GAMBLE
22
     By:
23   /s/
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24
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28




                                                     Complaint - 5
